 Case 2:12-cv-12172-GCS-MKM ECF No. 5, PageID.27 Filed 06/01/12 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUHTERN DIVISION

BRANDY MILLHOUSE,

                Plaintiff,
                                                            Case No. 12-cv-12172
-vs.-                                                       HON. GEORGE CARAM STEEH

CONSUMER PORTFOLIO SERVICES, INC.
a foreign corporation,

                Defendant.


        PLAINTIFFS' RESPONSE TO ORDER TO SHOW CAUSE BY JUNE 18,2012

         NOW COMES the Plaintiff, Brandy Millhouse, LLC, by and through her attorneys,

Nitzkin & Associates, and for her Response to this Honorable Court's Order to Show Cause by

June 18, 2012, why this case should not be dismissed for lack of federal subject matter

jurisdiction in the absence of allegations of an amount in controversy in excess of $75,000.00,

states as follows:

         At the outset, it is important to note that Plaintiffs Complaint seeks relief pursuant to

Mich. Compo Laws § 445.257, not Mich. Compo Laws § 445.256 as stated in the Court's Order.

While Mich. Compo Laws § 445.256 does provide for a fine of not more than $5,000 for the first

willful violation of the MCPA as stated by the Court, said portion of the MCPA only applies to

actions brought by the Michigan Attorney General. See Mich. Compo Laws § 445.256. Plaintiff

seeks relief pursuant to Mich. Compo Laws § 445.257, which provides a private right of action

for "actual damages or other equitable relief." Mich. Compo Laws § 445.257 further provides

that a court "may assess a civil fine of not less than 3 times the actual damages, or $150.00,

whichever is greater." Plaintiffs Complaint alleges that the Defendant's violation of the MCPA
 Case 2:12-cv-12172-GCS-MKM ECF No. 5, PageID.28 Filed 06/01/12 Page 2 of 3



was willful. Accordingly, Plaintiff's recovery is not limited to a fine of not more than $5,000 as

provided under Mich. Compo Laws § 445.256, but is instead Plaintiff is entitled to recover 3

times her actual damages pursuant to Mich. Compo Laws § 445.257.

       Moreover, Plaintiff has requested exemplary damages, which are akin to punitive

damages. 22 Am. Jr. 2d Damages § 544 (2006). As the Sixth Circuit has noted, "punitive

damages must be considered . . . unless it is apparent to a legal certainty that such cannot be

recovered." Hayes v. Equitable Energy Resources Co., 266 F.3d 560, 572 (6 th Cir. 2001). Under

Michigan law, exemplary damages are allowed for tortious conduct by a defendant. Kewin v.

Massachusetts Mut. Life Ins. Co., 409 Mich 401, 419 (1980). In this case, Plaintiff has plead a

cause of action for the tort of intentional infliction of emotional distress. Thus, it is legally

possible for Plaintiff to recover exemplary damages in addition to actual damages, and such an

award may exceed $75,000. See Hayes, 266 F.3d at 573 (holding "that a fair reading of the

unspecified and unliquidated damages sought by Plaintiffs provided that more than $75,000 was

in controversy.").

       Therefore, it does not appear to a legal certainty that Plaintiff cannot recover the

jurisdictional amount; accordingly, this Honorable Court should not dismiss this matter for lack

of federal subject matter jurisdiction. Furthermore and in the event than this Honorable Court

finds that it does not have federal subject matter jurisdiction over this matter, the Court should

remand this matter to state court, where it was originally filed by Plaintiff, rather than dismissing

this matter; which would have been improperly removed by the Defendant under such

circumstances.




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 Case 2:12-cv-12172-GCS-MKM ECF No. 5, PageID.29 Filed 06/01/12 Page 3 of 3



                                     Respectfully submitted,


                                     /s/ Gary Nitzkin
May 31, 2012                         GARY D. NITZKIN P41155
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                                          Proof of Service

       I, Gary Nitzkin hereby state that on 6/1/2012         , I served a copy of the within
   pleading upon all counsel as their address appear of record via email using the court's
   CMlECF system.
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